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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JEROME CORSI, et al

                  Plaintiffs,
v.
                                                                            1:19-cv-00656
INFOWARS, LLC, et al


                  Defendants.

     MOTION FOR EXTENSION OF TIME TO FILE OPPOSITION TO MOTION TO
                           DISMISS COMPLAINT

       Plaintiffs Jerome Corsi and Larry Klayman (“Plaintiffs”) hereby move for a 21-day

extension of time, until and including May 13, 2019 to file a response to Defendants’ Motion to

Dismiss Complaint. ECF No. 7. This requested extension will not affect any other previously set

deadlines or hearings.

       The reason for this request is that counsel for Plaintiffs has been under an unusually

heavy litigation schedule that has required him to travel extensively from coast to coast for client

exigencies.

       Pursuant to the Local Civil Rules, counsel for Plaintiffs has conferred with counsel for

Defendants and they have consented to the relief sought.

       WHEREFORE, Plaintiffs respectfully request for good cause that this Court grant

Plaintiffs’ 21-day extension of time or until and including May 13, 2019.

Dated: April 22,2019                                          Respectfully submitted,


                                                                /s/ Larry Klayman
                                                             Larry Klayman, Esq.
                                                             KLAYMAN LAW GROUP, P.A.
                                                             D.C. Bar Number: 334581



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                                                          Counsel for Plaintiffs Corsi and
                                                          Klayman

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed April 22,,

2019 and served to all counsel of record through the Court’s ECF system.


                                                   /s/ Larry Klayman
                                                   Attorney




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